Filed 05/27/16      Case Number: 2015-14228       Filed: 5/26/2016 3:30:05 PM
                                        Case 15-14228                                                       Doc 108


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTE ORDER


    Case Title :        Oscar Gutierrez                                   Case No : 15−14228 − B − 13
                                                                             Date : 05/25/2016
                                                                             Time : 01:30

    Matter :            [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                        $176) (eFilingID: 5697015) (msam)


    Judge :             Rene Lastreto II                       Courtroom Deputy : Jennifer Dauer
    Department :        B                                              Reporter : Electronic Record


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
                Debtor(s) Attorney − Glen E. Gates


                                              CIVIL MINUTE ORDER


    For the reasons stated on the record,

    IT IS ORDERED that the motion is continued to June 22, 2016 at 9:30 a.m. in Department B, Courtroom
    13, Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California. The court adopts the previous 11
    U.S.C. Section 362(e) findings set forth in the January 28, 2016 minutes.




                 May 26, 2016
Filed 05/27/16     Case Number: 2015-14228       Filed: 5/26/2016 3:30:05 PM
                                       Case 15-14228                                                        Doc 108


    This document does not constitute a certificate of service. The parties listed below will be served a
    separate copy of the attached Civil Minute Order.


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    Orange Cove CA 93646

    Michael H. Meyer
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